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                    EXHIBIT 2
Web Inquiry                                                                Page 1 of 2
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  Case Number                                     Court
   1135271                                          All


  Status
    -All


  File Date (From)                                File Date (To)
   MM/DD/YYYY                             "         MM/DD/YYYY                           "



    SEARCH       CLEAR



     Party    Attorney   Company

  Last Name                                       First Name




  File Date (From)                                File Date (To)
   MM/DD/YYYY                             "         MM/DD/YYYY                           "



    SEARCH       CLEAR

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   Case              File Date    Type Desc   Subtype     Style       Status   Judge    Court



   1135271           06/07/2019   CONTRACT                   PHILIP   Open       JIM      2
                                   - OTHER                 NIGRO VS            KOVACH
                                                            UNITED
                                                           PROPERTY
                                                               &
                                                           CASUALTY
                                                          INSURANCE
                                                           COMPANY                            %
 "                                                                                      #


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   Event        Event Desc                   Comments                                     Pgs
   Date

   09/25/2019   Proposed Order                                    Nigro Order to
                                                                  Compel Appraisal        2
                                                                  and Abatement.pdf

   09/25/2019   Notice of Hearing                                 Nigro Notice of
                                                                  Hearing - Mt to
                                                                                          1
                                                                  Compel
                                                                  Abatement.pdf

   09/25/2019   Motion to Compel                                  Nigro Motion to
                                                                  Compel Appraisal        13
                                                                  and Abatement.pdf

   09/23/2019   Answer                                            Nigro - United
                                                                  Property's Original
                                                                  Answer to Plaintiff's   5
                                                                  Original Petition
                                                                  09.23.19.pdf

   09/13/2019   Return of Service                                 NIGRO PHILIP
                                                                  EXECUTED
                                                                                          4
                                                                  CITATION 9-13-
                                                                  2019.pdf

   07/24/2019   Original Petition Citation   m/o to atty          Original Petition
                                                                                          1
                Issued                                            Citation

   06/07/2019   Civil Case Information                            NIGRO CIVIL CASE
                Sheet                                             INFO SHEET 6-7-  1
                                                                  19.pdf

   06/07/2019   eFile Original Petition                           NIGRO APPRAISAL
                                                                                      32
                                                                  PETITION 6-7-19.pdf

   06/07/2019   Original Petition (OCA)




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